                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION
 UNITED STATES OF AMERICA,                               )
                                                         )
                    Plaintiff,                           )
                                                         )
 v.                                                      )       No. 09-00156-07-CR-W-DW
                                                         )
 ROGER WILLIAM WEBB,                                     )
                                                         )
                    Defendant.                           )
                                                 ORDER

         Pending before the Court is Magistrate Judge Sarah W. Hays’s Report and Recommendation

(Doc. 322). After an independent review of the record, the Court ADOPTS the Magistrate’s Report

and Recommendation. Consequently, it is hereby ORDERED that:

         (1)       the Magistrate’s Report and Recommendation (Doc. 322) be attached to and made

                   part of this Order; and

         (2)       Defendant Roger William Webb has recovered to such an extent that he is able to

                   understand the nature and consequences of the proceedings against him and to assist

                   properly in his defense.

         IT IS SO ORDERED.




 Date:         April 5, 2012                                       /s/ Dean Whipple
                                                                        Dean Whipple
                                                                 United States District Judge




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